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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ERICA RAMIREZ, on behalf of             )
herself and all other persons similarly )
situated,                               )
                                        )   Civil Action No.:
       Plaintiff,                       )   1:21-cv-00762-AT
v.                                      )
                                        )
SNAPMEDTECH, INC. dba                   )
SNAPNURSE, INC.,                        )
                                        )
       Defendant.                       )

            DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS
                MOTION FOR SUMMARY JUDGMENT
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      Defendant     SnapMedTech,      Inc.   d/b/a   SnapNurse     (“SnapNurse”     or

“Defendant”) submits this Reply Brief in Support of Its Motion for Summary

Judgment, stating as follows:

                                I.   INTRODUCTION

      Plaintiff Erica Ramirez’s Complaint alleges that she “was not provided work

as guaranteed by her contract” - the SnapNurse Covid Mission Information Sheet

(“MIS”) - and that she “was not provided reimbursement for her travel and lodging

to and from Ft. Lauderdale, Florida or pay for travel to and from Ft. Lauderdale,

Florida.” [Doc. 1, ¶¶ 33-34, 65, Ex. A.] At summary judgment, Ms. Ramirez

changed her allegations and stated for the first time that her breach of contract claim
is based on an entirely separate document that she has had in her possession since

before filing the Complaint: the Confirmation of Assignment (“COA”). [Doc. 66,

p. 4.] Ms. Ramirez also gave up on the travel time claims set forth in her Complaint,
conceding that “Plaintiff and proposed class are not seeking compensation for

traveling to and from their job,” and instead asserted new claims for “wages under

the FLSA for hours not paid during training and orientation.” [Doc. 68, p. 9 n. 5.]

      Ms. Ramirez is correct to abandon her Complaint allegations. As she now

concedes, the MIS is not an enforceable contract, and commute time to a job site for

potential employment is not compensable under the FLSA. However, the revised
allegations in her Response to Defendant’s Motion for Summary Judgment are not

properly before the Court and, even if they were, are subject to dismissal.

      The COA on which Ms. Ramirez presently relies is an offer of at-will
employment “contingent upon the successful completion of SnapNurse on-boarding

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that includes . . . drug screening requirements” and potentially allows for guaranteed

hours “if you start on a Sunday or Monday.” [Doc. 66, Ex. 5, p. 2.] Not only were

its terms, including the supposed “guaranteed hours,” subject to change, Ms.

Ramirez concedes that she did not pass her drug screen until a week after the

assignment’s anticipated start date and that she never performed any work for

SnapNurse. Ms. Ramirez did not satisfy SnapNurse’s hiring criteria and therefore

was not eligible for guaranteed hours as of the date SnapNurse cancelled the

assignment due to lack of work on or about August 25, 2020. Ms. Ramirez’s claims,

and those of the class she purports to represent, are subject to summary judgment.

                           II.   LEGAL AUTHORITY
   A. Plaintiff Cannot Allege New Claims at Summary Judgment.

      Plaintiff’s Complaint sets forth a cause of action for breach of “contracts with
Defendant where it guaranteed its contract to provide Plaintiff and the class at least

48 hours of work so long as Plaintiff and members of the class made themselves

available for work. See contract attached hereto as ‘Exhibit A.’” [Doc. 1, ¶ 65.]

The document that Plaintiff chose to attach as Exhibit A to her Complaint was the

MIS; she did not reference the COA anywhere in the Complaint. [Doc. 1, Ex. A.]

      The issue is not, therefore, “[w]hether a contract need be attached to a

complaint,” as Plaintiff now suggests. [Doc. 72, pp. 3-4.] Rather, the question is

whether Plaintiff may assert a claim for breach of one alleged contract which she

chose to attach to the Complaint, and then later assert a claim for breach of an




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entirely different “contract” at the summary judgment stage. As courts in this district

have made clear, she cannot.

      In Knieper v. Forest Group USA, Inc., the plaintiff realized that the agreement

on which his claims were initially based did not contain the provisions he alleged

were breached, and therefore argued new claims of breach of contract at summary

judgment; the court rejected the plaintiff’s revised allegations, holding that “a

plaintiff may not amend its complaint through argument in a brief opposing

summary judgment.” Case No. 1:04-cv-1969-CC, 2006 WL 8431473, * 5 (N.D. Ga.

Mar. 30, 2006) (quoting Gilmour v. Gates, McDonald and Co., 382 F.3d 1312, 1315

(11th Cir. 2004)). Similarly, in Griffin v. Bank of America Corp., the court rejected
arguments raised for the first time in opposition to summary judgment that the

defendant “created new contracts with Plaintiffs, which he breached with the intent

to defraud Plaintiffs.” Case No. 1:09-cv-1144-WSD, 2010 WL 11598055, *8 (N.D.

Ga. Sept. 17, 2010).

      Indeed, the Eleventh Circuit has explicitly rejected the plaintiff’s attempt to

raise a new breach of contract claim at the summary judgment stage:
      Liberal pleading does not require that, at the summary judgment stage,
      defendants must infer all possible claims that could arise out of facts
      set forth in the complaint. The proper procedure for [plaintiff] to
      assert a new contract claim was to seek to amend her complaint.

Gilmour, 382. F.3d at 1315 (emphasis added). See also GeorgiaCarry.Org, Inc. v.

Georgia, 678 F.3d 1244, 1258 n. 27 (11th Cir. 2012), cert. denied, ––– U.S. ––––,

133 S.Ct. 856, 184 L.Ed.2d 656 (2013) (“It is well-settled in this circuit that a



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plaintiff may not amend the complaint through argument at the summary judgment

phase of proceedings.”); see also Flintlock Const. Services, LLC v. Well-Come

Holdings, LLC, 710 F.3d 1221 (11th Cir. 2013) (refusing to consider additional facts

alleged at summary judgment, which were asserted to eliminate a critical deficiency

in the allegations of their amended complaint).

      Plaintiff has known of the existence of the COA since the onset of this case;

she even produced the document in response to written discovery requests. [See

Doc. 66, Ex. 5.] Still, she chose to base her Complaint on the MIS and referred to

the MIS when asked to identify the document on which she was suing at deposition.
      Q.     So Ms. Ramirez, this is a document you produced to us titled
             SnapNurse COVID Mission Information Sheet. It’s also attached to
             your complaint. Is this the contract that you contend is at issue in this
             case?
      A.     Yes.
      ***
      Q.     And then if we can go – let’s go back to the COVID Mission
             Information Sheet. So this is the document, correct me if I’m wrong,
             that you contend in this lawsuit sets forth the terms that SnapNurse
             breached; correct?
      A.     Yes.
(Ramirez Dep., pp. 70:5-10, 82:11-18; see also, Ramirez Dep., p. 97:5-16.)
      Plaintiff’s breach of contract claim, as stated in the Complaint and affirmed at

deposition, is premised on the MIS. Plaintiff cannot raise a new claim on an entirely

separate document at summary judgment. Because Plaintiff never amended the

Complaint to include a new breach of contract claim based on the COA, the Court

should not consider it. Felix v. Key Largo Management Corp., Case No. 4:19-cv-


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10067, 2021 WL 5037570, at *4 (S.D. Fla. Oct. 29, 2021). For the reasons set forth

in Defendant’s Memorandum of Law in Support of Its Motion for Summary

Judgment, Plaintiff’s breach of contract claim premised upon the MIS should be

dismissed. [See Doc. 51-1, pp. 21-23.]
   B. Plaintiff’s Claim for Breach of Contract Under the COA Fails.
          1. Florida Law Governs the Enforceability of the Contract.
      Georgia courts generally adhere to the rule of lex loci contractus to evaluate

the enforceability of a contract in the absence of a choice-of-law provision. U.S.

Security Associates, Inc. v. Lumby, Case No. 1:18-cv-5331-TWT, 2019 WL
8277263, * 7 (N.D. Ga. Sept. 25, 2019). The rule of lex loci contractus mandates

that, where the contract is made in one state and is to be performed in another state,

the substantive law of the state where the contract is performed will apply. Id.
Indeed, a contract is made “in the place where the last act essential to the completion

of the contract was done.” Shorewood Packaging Corp. v. Commercial Union Ins.

Co., 865 F.Supp. 1577 (N.D. Ga. 1994). Because the potential assignment was to

be performed in Florida, it is the state where the last act essential to completion of

the alleged agreement was to occur, and its law applies.
          2. Plaintiff’s Breach of Contract Claim Fails Irrespective of the
             Choice of Law.
                  a. The COA Is an Offer of “At-Will” Employment.

      It does not, however, matter whether Florida or Georgia law applies;

Plaintiff’s breach of contract claim fails under both. Assuming Plaintiff may allege

claims for breach of the Confirmation of Assignment (“COA”) (she cannot), the

COA by its own terms is merely an offer of at-will employment. It states:

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      We are pleased to make the following offer to you for the position of
      xxx with SnapNurse. Details of the offer are as follows:

      Conditions: Your employment with the company is on an “at-will”
      basis, which means that both the company and you are free to terminate
      the employment relationship at will, without any cause or notice. As
      an “at-will” employee, your job duties, title, compensation, benefits,
      and the personnel policies and procedures to which you are subject
      may change at any time. Neither this letter, nor any communications
      between you and the company, creates any contract of employment of
      any nature between you and the company. The “at-will nature of your
      employment may only be changed in an express written agreement
      signed by you and the company’s Chief Operating Officer.
[Doc. 66, Ex. 5, p. 2] (emphasis added.)
      Under both Florida and Georgia law, “Absent a controlling agreement

providing specific terms of employment, ‘the general rule [is] that employment

relationships supported by no consideration other than the performance of duties and
the payment of wages are terminable at will by either the employer or the employees.

Rowan v. Dubber, Inc., Case No. 1:19-cv-1276-SDG, 2020 WL 5815923, *4 (N.D.

Ga. Aug. 28, 2020) (quoting Balmer v. Elan Corp., 278 Ga. 227, 228 (2004)); Liff v.

City of Cocoa, 745 So. 2d 441, 441 (Fla. Dist. Ct. App. 1999). “In addition to

termination at will by either party, ‘an employer may also alter the terms of an

employee’s employment without the employee’s consent.’” Rowan, 2020 WL

5815923, *4 (quoting Lynch v. Valcom Driver Leasing, Inc., 2007 WL 9702866, *2

(N.D. Ga. 2007)).

      The COA does not provide definite start dates, end dates, or shift times. While
it (unlike the MIS) notes “Yes” besides “Guaranteed Hours,” it does not state how

many hours are guaranteed, for how long, or at what rate. See Rowan, 2020 WL


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5815923, *7 (offer letter containing no formula or method for calculating

compensation is unenforceable). And, importantly, it states that the “job duties, title,

compensation, benefits, and the personnel policies and procedures to which you

are subject may change at any time.”           [Doc. 66, Ex. 5] (emphasis added.)

Accordingly, by the express terms of the supposed contract under which Plaintiff

now brings suit, SnapNurse could “terminate [Plaintiff] or alter the terms of [her]

employment without [her] consent.” Rowan, 2020 WL 5815923, *4. The COA does

not give rise to a viable claim for breach of contract.
                   b. Plaintiff Did Not Satisfy Conditions Precedent for
                      Guaranteed Hours.
      The COA also makes clear that it is contingent upon a number of pre-

conditions, including “the successful completion of SnapNurse on-boarding that

includes providing legal proof of your identity, meeting background check and drug

screening requirements, license verification, and the successful completion of
certification specific skills checklist and competency exams.” [Doc. 66, Ex. 5, p. 2.]

In addition to being subject to change due to the at-will nature of the parties’

prospective employment relationship, the COA’s “Guaranteed Hours” provision is

further contingent upon a number of factors, most notably the completion of the

onboarding process and the beginning of the working relationship. The COA states,

“Guaranteed hours are only honored your first week if you start on a Sunday or
Monday.” [Doc. 66, Ex. 5, p. 2] (emphasis added.)

      Plaintiff did not, however, start on a Sunday or Monday; indeed, she did not

start at all. The Complaint admits, “Plaintiff arrived at her worksite on [Friday]



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August 21, 2020 for orientation; however, was not provided work as guaranteed by

her contract.” [Doc. 1, ¶ 33] (emphasis added.) Plaintiff is not entitled to guaranteed

hours under the COA because she did not perform any work for SnapNurse. To the

extent she alleges that her arrival at orientation entitles her to guaranteed hours, she

arrived on a Friday, not a Sunday or Monday as contemplated by the COA.

      Plaintiff also did not complete her onboarding requirements, another pre-

requisite to receiving a work assignment and potentially guaranteed hours. The

COA states that it is contingent upon “the successful completion of SnapNurse on-

boarding that includes . . . meeting background check and drug screening

requirements.” [Doc. 66, Ex. 5, p. 2.] Ms. Ramirez did not, however, obtain a

negative drug screen prior to the anticipated start date of the assignment.
      Q:     And so this would suggest that SnapNurse did not receive your
             test result until August 29; correct?
      A:      Correct.
              …
      Q:     [T]heir documents that you signed say that you are not eligible
             to work until you have passed the drug test, correct?
      A:     Correct.
(Ramirez Dep. 85: 25 – 86: 3; 87: 7-10.)1

      Because Ms. Ramirez did not (1) start work, or (2) meet drug screening

requirements prior to the anticipated assignment start date, she is not entitled to

guaranteed hours under the COA. See Rowan, 2020 WL 5815923, *5 (“The Offer

Letter is unambiguous; it expressly stated that [plaintiff] would receive severance

pay only if one-of-two specific preconditions occurred. Neither did. As such, the

1
 Similarly, Opt-In Plaintiff Kristin Hill never took a drug screen for SnapNurse.
(Hill Dep. 66: 22 – 67: 4.)
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severance provision was not triggered”); Faircloth v. A.L. Williams & Assocs., Inc.,

219 Ga. App. 560, 561 (1995) (“The contract specifies . . . that retirement can happen

only after the SVP has either performed his duties for three years or reached the age

of sixty-two. As neither of these preconditions to retirement occurred before

plaintiff stopped working for defendant, the trial court did not err [in entering

summary judgment].”).
   C. Plaintiff Did Not Perform Compensable Work Under the FLSA.
      Plaintiff’s FLSA claim fails for similar reasons.         Specifically, Plaintiff

acknowledges that she “was not provided work as guaranteed by her contract.”
[Doc. 1, ¶ 33] (emphasis added.) Because Plaintiff did not perform any work, she is

not entitled to compensation for “hours worked” under the FLSA.

         1. Plaintiff Has Abandoned Claims for Travel and Wait Time.
      Although Plaintiff initially alleged that “Defendant failed to pay . . . providers

for their travel time which entails being paid below minimum wage for hours worked

in overtime in violation of the FLSA” [Doc. 1, ¶ 60], she has for good reason

abandoned those claims. [See Doc. 66, p. 9 n. 5] (“Plaintiff and proposed class are

not seeking compensation for traveling to and from their job . . .”). Under the Portal

to Portal Act, travel time to and from a potential job site is not compensable. See

Vega v. Gasper, 36 F.3d 417, 422 (5th Cir. 1994), abrogated on other grounds,

Bridges v. Empire Scaffold, L.L.C., 875 F.3d 222, 228 (5th Cir. 2017); Bonilla v.

Baker Concrete Const., Inc., 487 F.3d 1340 (11th Cir. 2007); Kroll v. Home Depot
U.S.A., Inc., Case No. 2003 WL 23332905 (S.D. Ga. Aug. 20, 2003).



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      Likewise, Plaintiff apparently concedes that she is not entitled to “wait time.”

[See Doc. 66, p. 9 n. 5.] This is also for good reason: Plaintiff was free to use any

time spent waiting for a potential SnapNurse assignment as she saw fit, and therefore

was not entitled to compensation for such time under the FLSA. See, Birdwell v.

City of Gadsden, Ala., 970 F.2d 802, 807 (11th Cir.1992) (holding detectives' on-

call duties did not severely restrict use of their free time where detectives who did

not purchase their own beepers could not participate in outdoor activities such as

fishing or hunting, leave town, or go on vacation while on call); Bright v. Houston

Northwest Med. Ctr., 934 F.2d 671 (5th Cir.1991) (holding biomedical equipment

repair technician's on-call duties did not significantly restrict use of free time where
technician was called in to work an average of five times per week and was required

to report to the hospital within twenty minutes of being paged); Rutlin v. Prime

Succession, Inc., 220 F.3d 737, 744 (6th Cir.2000) (holding funeral embalmer's on-
call duties did not significantly restrict use of free time where embalmer alleged his

on-call duties prevented him from drinking alcohol, visiting his children, or boating,

and that his meals, evening activities and sleep were disrupted by his on-call duties).
          2. SnapNurse Is Not Liable for Training and/or Orientation Time
             Under the FLSA.
      n her Response to Defendant’s Motion for Summary Judgment, Plaintiff

alleges that she is “seeking wages under the FLSA for hours not paid during training
and orientation.” [Doc. 66, p. 9 n. 5.] Again, these allegations are not included

anywhere in the Complaint; rather, Plaintiff raises them for the first time in her

response brief. [See generally, Doc. 1.] Regardless, they are without merit.


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       SnapNurse did not employ Plaintiff during any purported period of training

and/or orientation. Rather, SnapNurse provided Plaintiff with an offer letter in the

form of a COA which was expressly contingent upon “the successful completion of

SnapNurse on-boarding that includes providing legal proof of your identity, meeting

background check and drug screening requirements, license verification, and the

successful completion of certification specific skills checklist and competency

exams.” [Doc. 66, Ex. 5, p. 2.] And, the FLSA does not consider time spent

completing pre-employment paperwork as “hours worked.” Dellinger v. Science

Applications Intern. Corp., 649 F.3d 226, 229 (4th Cir. 2011) (“We have been unable

to find any case that extends FLSA protections to applicants or prospective
employees.”); Nance v. May Trucking Co., 685 Fed.Appx. 602, 604-5 (9th Cir. 2017)

(truck drivers attending defendant’s mandatory three-day orientation program as a

step in the application process for securing employment with defendant are not
entitled to compensation under FLSA”); Bienkowski v. Northeastern University, 285

F.3d   138,   141    (1st   Cir.   2002)   (“employers   who    furnished    training

to potential employees were not required under the FLSA to compensate trainees for
time spent in the training program”); Saini v. Motion Recruitment Partners, LLC,

Case No. SACV 16-01534 JVS (KESx), 2017 WL 1536276, * 5 (C.D. Ca. Mar. 6,

2017) (interview time not compensable under FLSA).
       Still, Plaintiff specifically seeks compensation for pre-employment tasks such

as “finalizing the requisite paperwork to practice, completing testing, and being

fitting for masks.” [Doc. 66, p. 12.] Plaintiff provides no further detail regarding

her pre-employment “work” other than a conclusory allegation by Opt-In Plaintiff

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Stacy Ann Head that she “did orientation. I did COVID testing. I did fit testing. I

did donning and duffing, drug testing.” [Doc. 66, p. 6.] Plaintiff fails, however, to

describe what precise work she performed during orientation, fit testing, and

donning and “duffing.”2 Moreover, courts have routinely held that “finalizing the
requisite paperwork to practice” and submitting to pre-employment drug screens is

not compensable under the FLSA. See Nance, 685 Fed.Appx. at 604-5 (plaintiffs

not entitled to compensation under the FLSA where “[d]uring the second and third

days, applicants complete tax and administrative paperwork in a classroom setting”).

      The FLSA does not apply to pre-employment activities, such as completing

administrative paperwork and submitting to background and drug screenings. And
Plaintiff has not identified with specificity any other activity that she allegedly

performed during training and/or orientation for which she was not compensated.

Plaintiff’s FLSA claims are subject to summary judgment.
                              III.   CONCLUSION

      Plaintiff filed a lawsuit that lacks a viable claim. After realizing that the MIS

is not an enforceable contract and that the Portal-to-Portal Act does not provide

compensation for time spent traveling to a job site, she abandoned her Complaint

allegations.



2
 At the summary judgment stage, Plaintiff’s bare allegation that she was required to
doff and don during orientation must be disregarded absent additional detail.
Moreover, given her Complaint admission that she “was not provided work as
guaranteed by her contract,” it is impossible to imagine what equipment Plaintiff
may have been required to doff or don, the purpose for doffing or donning, and the
amount of time it took to purportedly doff or don such equipment. [Doc. 1, ¶ 33]
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      Yet, Plaintiff’s revised theory of relief also lacks merit. Plaintiff “was not

provided work” by SnapNurse. She is therefore not entitled to guaranteed pay under

the COA, nor is she entitled to compensation for hours worked under the FLSA.

Plaintiff’s claims, and those of the class she purports to represent, should be

dismissed on summary judgment.

      Respectfully submitted this 14th day of March 2022.


                                                s/Matthew R. Simpson
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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

ERICA RAMIREZ, on behalf of             )
herself and all other persons similarly )
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                                        )          Civil Action No.:
       Plaintiff,                       )          1:21-cv-00762-AT
v.                                      )
                                        )
SNAPMEDTECH, INC. dba                   )
SNAPNURSE, INC.,                        )
                                        )
       Defendant.                       )

                      CERTIFICATE OF COMPLIANCE
      Pursuant to L.R. 7.1(D), I certify that Defendant’s Reply Brief in Support of

its Motion for Summary Judgment has been prepared using Times New Roman 14-

point font in compliance with L.R. 5.1.

                                        s/Matthew R. Simpson
                                        Matthew R. Simpson
                                        Georgia Bar No. 540260
                                        FISHER PHILLIPS LLP




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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ERICA RAMIREZ, on behalf of             )
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                                        )    Civil Action No.:
       Plaintiff,                       )    1:21-cv-00762-AT
v.                                      )
                                        )
SNAPMEDTECH, INC. dba                   )
SNAPNURSE, INC.,                        )
                                        )
       Defendant.                       )

                          CERTIFICATE OF SERVICE
      I hereby certify that on this 14th day of March 2022, I electronically filed

DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS MOTION FOR

SUMMARY JUDGMENT with the Clerk of Court using the CM/ECF system
which will automatically send e-mail notification of such filing to the following

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